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Hon. Cathy Seibel

United States District Court Judge
United States Courthouse

300 Quarropas Sireet

White Plains, New York 10601

 

 

 

ECeIVE

 

 

Virginia Blanco 79564-054 FDC Philadelphia
Federal Detention Center PO. Box 562
Philadelphia, PA 19105

August 19, 2022

Re: U.S.A v. Blanco
16 Cr. 408 (CS)
28 U.S.C. § 2255

RE: United States V. Taylor
Dear Judge Seibel,

Ms, Blanco is aware that United Stales V. Taylor was a conviction of attempted Hobbs act robbery 18
U.S.C § 1951{b) and Ms. Blanco’s alleged bank robbery conviction of 8 U.S.C. § 2113{a} & 2 is an
actual robbery.

The Govemment carmot establish that Ms. Blanco aided and abetted in ihe use, carrying, possession and
discharge of a firearm during and in relation to the bank robbery.

Ms. Blanco has basic knowledge of the elements required to convict under 18 U.S.C. §§ 2113fa) and what
a Crime of violence defined is Under Title 18 U.S.C, §§ 16 and what the ten (10) year enhancement
required for an 18 U.S.C. §§ 924(c){1)(A){iti} is when a firearm is discharged during a crime of violence.

Ms. Blanco’s argument is:

In 2003, Justin Eugene Taylor sold marijuana in Richmond, Virginia. He and an accomplice planned
(Conspired}to steal money from Martin Silvester, a prospective buyer. Ms. Blanco and Giovanni Marte
never conspired to steal money from the Wells Fargo Bank. The Government can act prove that Ms,
Blanco conspired with Giovanni Marte. It is well established in this citcuii thal an aider and abetier
generally cannot be convicied unless he consciously assisted the commission of the specific crime in
some active way. Here the Goverment can oot establish Ms. Blanco assisted the commission of the
specific crime in any way. Afler meeling Silvester in an alley, the accomplice pulled out a semiaulomalic
pistol and tried to lake Sitvesler’s cash while Taylor wailed nearby in a getaway car. Ms. Blanco was not
aware nor can the Government prove Ms. Blanco was aware that her alleged co-Defendant would carry or
be in possession ofa firearm. The langue of the statue requires proof that Ms. Blanco performed some act
that direcily faciliiated or encourage the use or carrying of a firearm. Unlike Taylor who was wailing
nearby in a gelaway car Ms. Blanco who was geographically distant from the crime and played no
supportive role as the robbery look place did not discharge a firearm nor did she have prior knowledge
that one would be used. Silvester resisted, and the accomplice falatly shot him. Taylor and the accomplice
fled the scene, having failed to collect Silvester’s money. The Government can not prove that Ms. Blanco
received any of ihe procecds from the robbery.

The Government can not eslablish Ms. Blanco used physical force nor can the Government establish Ms.
Blanco threatened or atiempied io use physical force therefore Ms. Blanco’s 924c charge does not meet
the elements required io qualify as a crime of violence. (Please see Ms. Blanco’s 28 U.S.C. § 2255
arguments)

According to The Honorable Cathy Seibel ai Ms. Blanco’s final pre-trial conference, Ms. Blanco is only
puilly of conspiracy. Even that statement is hard lo prove and Ms. Blanco wishes to be heard on thai

 
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ground as well. (Plcase sec Ms. Bianco's 28 U.S.C. § 2255 arguments).

The court: Her role in the bank robbery isn’t particularly seasational. She’s not the one who charged him
with the gun. She’s not the one who fired off the guns. She had a - - T don’t want to say a passive role, bul
a background role in the conspiracy, as you’ve alleged il. Page 15. Lines 2-7

The Coun: Well, you know what { mean, Ii was thal she didn’t physically pull offthe bank robbery. Her
contibulion was information. Page !5. Lines 13-15.

The Cour: She’s not the one whe fired the gun. She's not the one who pistol-whipped somebody.
Page 17. Lines 23-24.

18 U.S.C. § 371
Conspiracy is nol classified as a crime of violence:

If two or more persons conspire either 10 commit any offense againsi the United States, or to defraud the
United States, or any agency thereof in any manner or for any purpose, and one or more of such persons
do any act lo affect the object of the conspiracy, each shall be fined under this title or imprisoned not more
than five years, or both.

The Honorable Cathy Seibel claims Ms. Blanco’s role in the bank robbery was a minor conspiracy role.

The elements of conspiracy are to defraud the United States under 18 U.S.C. § 371 are: (1) an agreement
of two or more persons; (2) to defraud the United States; and (3) an overt act in furtherance of the
conspiracy committed by one of the conspirators.

The Government can not establish or proye any of the elements required in the conspiracy statue to
convict Ms. Blanco. (Please see Ms. Blanco’s 28 U.S.C. § 2255 arguments).

In most 924¢ cases, a eroup of people are indicted for possessing a firearm that was only physically
possessed by one of the members of the criminal conspiracy. Technically, all of the members of the drug
trafficking conspiracy or violent crime conspiracy could be charged with the possession of Lhe firearm
under 924(c) if they were aware that their co-conspirator possessed the weapon. This is a common issuc
thai arises al trial or in plea negotiations.

However, the Governmeni cannot establish that Ms. Blanco conspired with Giovanni Marte or had any
prior knowledge that a firearm would be used during the commission of the robbery. Taylor had
knowledge there would be a firearm and conspired with his co-defendant and was the getaway driver.

Please review the arguments raised in Ms. Blanco’s 28 U.S.C. § 2255 motion. The Government did not
meet ihe elements required to convict Ms. Blanco.

in conclusion, if Ms. Blanco’s trial lawyer wasn’t such a dullard, Ms. Blanco would not be in this
situation. Ms. Bianco respectfully requests that the Honorable Cathy Scibel review her 28 U.S.C. § 2255
motion to see the grounds raised and how she docs noi meet the elements required io be convicted and
how they can be applied in the Taylor argument. Furthermore Ms. Blanco humbly requests council is
appointed and Ms. Blanco is heard on all grounds and her 28 U.S.C. § 2255 motion is granted.

Respectfully Submitted,

VG

Virginia Blanco
